Case 3:10-cr-03575-LAB   Document 11   Filed 08/23/10   PageID.24   Page 1 of 6
Case 3:10-cr-03575-LAB   Document 11   Filed 08/23/10   PageID.25   Page 2 of 6
Case 3:10-cr-03575-LAB   Document 11   Filed 08/23/10   PageID.26   Page 3 of 6
Case 3:10-cr-03575-LAB   Document 11   Filed 08/23/10   PageID.27   Page 4 of 6
Case 3:10-cr-03575-LAB   Document 11   Filed 08/23/10   PageID.28   Page 5 of 6
Case 3:10-cr-03575-LAB   Document 11   Filed 08/23/10   PageID.29   Page 6 of 6
